     Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 1 of 14 Page ID #:123




 1     SCOTT ERIK ASPHAUG, OSB #833674
       Acting United States Attorney
 2
       District of Oregon
 3     KEVIN DANIELSON, OSB #065860
       Assistant United States Attorney
 4
              1000 SW Third Avenue, Suite 600
 5            Portland, Oregon 97204-2902
              Telephone: (503) 727-1000
 6
              E-mail: kevin.c.danielson@usdoj.gov
 7
 8     Attorneys for Defendant MERRICK GARLAND.
       Attorney General of the U.S. Department of Justice
 9
10                               UNITED STATES DISTRICT COURT

11                         FOR THE CENTRAL DISTRICT OF CALIFORNIA

12                                    WESTERN DIVISION

13      CHARLES PELL,                                Case No. 2:21-cv-05945-JFW (PVC)

14                  Plaintiff,                       DEFENDANT’S ANSWER TO
15                                                   PLAINTIFF’S FIRST AMENDED
        v.                                           COMPLAINT
16
17      UNITED STATES DEPARTMENT
        OF JUSTICE, MERRICK GARLAND, In Honorable John F. Walter
18      his official capacity as Attorney General United States District Judge
19      of the United States; and DOES 1 through
        10, inclusive,
20
21                  Defendants.

22           Defendant Merrick Garland, Attorney General of the U.S. Department of Justice,
23
       by counsel, submits the following Answer to the correspondingly numbered paragraphs of
24
25     the First Amended Complaint (ECF 14) filed by Plaintiff, Charles Pell, in the above-
26     captioned action.
27
28
                                                 1
     Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 2 of 14 Page ID #:124




 1                                        INTRODUCTION
 2
             1.     Admit that the acts and events that underly this Complaint occurred in the
 3
       U.S. Attorney’s Office for the Central District of California which is headquartered in Los
 4
 5     Angeles, California. Admit Los Angeles is a diverse community. Defendant denies the
 6
       remaining allegations in Paragraph 1.
 7
 8           2.     Admit that Plaintiff is employed as an Assistant U.S. Attorney in the U.S.

 9     Attorney’s Office for the Central District of California. Admit that Defendant works in
10
       the U.S. Attorney’s Office’s Criminal Division. Admit that Defendant won an award in
11
12     2015 from the California Lawyers Attorneys of the Year in Criminal Practice. Defendant

13     is without knowledge or information sufficient to admit or deny the remaining allegations
14
       in Paragraph 2 and therefore denies same.
15
16           3.     Denied.

17           4.     Denied.
18
                                     JURISDICTION AND VENUE
19
20           5.     Admit that the Complaint asserts claims pursuant to Title VII of the Civil

21     Rights Act of 1964, 42 U.S.C. § 2000e et seq. Defendant denies the remainder of the
22
       allegations in Paragraph 5.
23
24           6.     Admit that Plaintiff invokes subject matter jurisdiction pursuant to 28 U.S.C.

25     §§ 1331 & 1343. Admit that Defendant obtained a Final Agency Decision for his
26
       administrative complaint bearing the docket number USA-2020-10208. Defendant denies
27
28     the remainder of the allegations contained in Paragraph 6.
                                                   2
     Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 3 of 14 Page ID #:125




 1           7.     Admit that venue for this civil action lies in the Central District of California.
 2
                                               PLAINTIFF
 3
             8.     Admit.
 4
 5                                           DEFENDENTS
 6
             9.     Admit that Merrick Garland, in his official capacity as the Attorney General
 7
 8     of the U.S. Department of Justice, is subject to the jurisdiction of the Court and is the only

 9     proper defendant in this action. Admit the U.S. Department of Justice is an “executive
10
       agency” of the United States within the meaning of 5 U.S.C. § 105.
11
12           10.    Admit that management employees in the U.S. Attorney’s Office for the

13     Central District of California were acting within the scope of their employment for all acts
14
       or omissions alleged in the Complaint. Defendant denies the remainder of the allegations
15
16     in Paragraph 10.

17           11.    Denied.
18
                          EXHAUSTION OF ADMINISTRATIVE REMEDIES
19
20           12.    Admit that Plaintiff received a Final Agency Decision on or about April 27,

21     2021 regarding his administrative EEO complaint bearing the docket number USA-2021-
22
       01028. Defendant denies the remainder of the allegations in Paragraph 12.
23
24                                    FACTUAL ALLEGATIONS

25           13.    Admit that Plaintiff is employed as an Assistant U.S. Attorney in the U.S.
26
       Attorney’s Office for the Central District of California, Santa Ana branch office. Admit
27
28     that Plaintiff has been employed as an Assistant U.S. Attorney since approximately August
                                                     3
     Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 4 of 14 Page ID #:126




 1     2008. Admit that Plaintiff has been duty stationed at U.S. Attorney’s Office’s Santa Ana
 2
       branch office since approximately April 2011. Defendant is without knowledge or
 3
       information sufficient to admit or deny the remaining allegations contained in Paragraph
 4
 5     13 and therefore denies same.
 6
             14.   Admit that Plaintiff received “Outstanding” performance review ratings from
 7
 8     calendar year 2014 to calendar year 2018. Defendant denies the remaining allegations in

 9     Paragraph 14.
10
             15.   Admit.
11
12           16.   Denied.

13           17.   Admit that Plaintiff told Assistant U.S. Attorney Benjamin Barron that his
14
       partner is Hispanic and that they had a son together in or around late 2019. Defendant is
15
16     without knowledge or information sufficient to admit or deny the remaining allegations

17     contained in Paragraph 17 and therefore denies same.
18
             18.   Denied.
19
20           19.   Denied.

21           20.   Defendant is without knowledge or information sufficient to admit or deny
22
       the allegations contained in Paragraph 20 and therefore denies same.
23
24           21.   Denied.

25           22.   Denied.
26
             23.   Admit the U.S. Attorney’s Office for the Central District of California is
27
28     headquartered in Los Angeles, California. Admit that former Assistant U.S. Attorney
                                                  4
     Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 5 of 14 Page ID #:127




 1     Brandon Fox is a male Caucasian. Admit that Assistant U.S. Attorney Fox served as the
 2
       U.S. Attorney’s Office’s Criminal Chief from approximately May 2019 through
 3
       approximately May 2021. Defendant denies the remainder of the allegations in Paragraph
 4
 5     23.
 6
             24.    Admit that Assistant U.S. Attorney Benjamin Barron was appointed as the
 7
 8     U.S. Attorney’s Office’s Santa Ana branch chief in or around June 2019. Admit that

 9     Assistant U.S. Attorney Barron is a male Caucasian. Admit that Assistant U.S. Attorney
10
       Barron replaced a female Assistant U.S. Attorney as Santa Ana branch chief. Defendant
11
12     denies the remainder of the allegations in Paragraph 24.

13           25.    Admit that Plaintiff was given a progress review for the calendar year 2019
14
       performance appraisal period in or around June 4, 2019. Admit that the June 4, 2019 mid-
15
16     year progress review speaks for itself. Admit that Assistant U.S. Attorney Benjamin

17     Barron was appointed as the U.S. Attorney’s Office’s Santa Ana branch chief in or around
18
       June 2019. Defendant denies the remainder of the allegations in Paragraph 25.
19
20           26.    Paragraph 26 of the Complaint contains factual quotations from an alleged e-

21     mail Plaintiff’s first-level supervisor sent to his second-level supervisor, to which no
22
       response is required. To the extent a response is required, Defendant admits that Assistant
23
24     U.S. Attorney’s Daniel Ahn’s alleged e-mail to Assistant U.S. Attorney Barron speaks for

25     itself. Defendant denies the remainder of the allegations in Paragraph 26.
26
27
28
                                                   5
     Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 6 of 14 Page ID #:128




 1           27.   Admit that Plaintiff received a “Successful” rating in his Ethics and
 2
       Professionalism Critical Performance Element for his performance appraisal in calendar
 3
       year 2019. Defendant denies the remainder of the allegations in Paragraph 27.
 4
 5           28.   Admit that Assistant U.S. Attorney Benjamin Barron and Assistant U.S.
 6
       Attorney Daniel Ahn attended a meeting on or about February 11, 2020 to discuss
 7
 8     proposed performance ratings for Santa Ana branch employees. Admit that former U.S.

 9     Attorney Nicola Hanna, Assistant U.S. Attorney Tracy Wilkison, former Assistant U.S.
10
       Attorney Brandon Fox, Assistant U.S. Attorney Scott Garringer, Assistant U.S. Attorney
11
12     Daniel Ahn, Assistant U.S. Attorney Jennifer Waier, and Assistant U.S. Attorney Vibhav

13     Mattal were also present. Defendant denies the remainder of the allegations in Paragraph
14
       28.
15
16           29.   Admit that Plaintiff received a “Successful” rating in his Case Handling

17     Critical Performance Element for his performance appraisal in calendar year 2019. Admit
18
       that Plaintiff received an overall “Successful” rating for his performance appraisal in
19
20     calendar year 2019. Admit that Plaintiff and Assistant U.S. Attorney Benjamin Barron

21     signed Plaintiff’s calendar year 2019 performance appraisal on or about February 19,
22
       2020. Admit that Plaintiff met with Assistant U.S. Attorney Barron and Assistant U.S.
23
24     Attorney Daniel Ahn on or about February 19, 2020 to discuss Plaintiff’s calendar year

25     2019 performance rating. Defendant denies the remainder of the allegations in Paragraph
26
       29.
27
28           30.   Denied.
                                                  6
     Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 7 of 14 Page ID #:129




 1           31.    Admit that Plaintiff met with Assistant U.S. Attorney Benjamin Barron in or
 2
       around February 2020 to discuss Plaintiff’s calendar year 2019 performance rating. Admit
 3
       that in one of those meetings Assistant U.S. Attorney Barron told Plaintiff about certain
 4
 5     performance issues observed by then Deputy Criminal Chief Assistant U.S. Attorney Scott
 6
       Garringer. Defendant denies the remaining allegations in Paragraph 31.
 7
 8           32.    Admit that Plaintiff filed a formal complaint of discrimination on or about

 9     June 29, 2020 that contains an allegation concerning his calendar year 2019 performance
10
       appraisal. Admit Plaintiff’s June 29, 2020 formal complaint of discrimination was
11
12     investigated in 2020. Defendant denies the remainder of the allegations in Paragraph 32.

13           33.    Admit that Plaintiff received a “Successful” rating in his Ethics and
14
       Professionalism Critical Performance Element for his performance appraisal in calendar
15
16     year 2020. Admit that Plaintiff received a Letter of Reprimand on December 3, 2020 for

17     unprofessional conduct. Defendant denies the remainder of the allegations in Paragraph
18
       33.
19
20           34.    Admit that a memorandum with the title “Action Proposals for Racial Justice,

21     Equity, and Inclusion at the U.S. Attorney’s Office for the Central District of California”
22
       was sent to former U.S. Attorney Nicola Hanna, then-First Assistant U.S. Attorney Tracy
23
24     Wilkison, and then-Executive Assistant U.S. Attorney Stephanie Christensen on or about

25     June 19, 2020. Admit that in or around July 2020, the U.S. Attorney’s Office created an
26
       Equality Working Group. Defendant denies the remainder of the allegations in Paragraph
27
28     34.
                                                   7
     Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 8 of 14 Page ID #:130




 1           35.    Admit that in or around July 2020, the U.S. Attorney’s Office created an
 2
       Equality Working Group. Defendant is without knowledge or information sufficient to
 3
       admit or deny the remaining allegations in Paragraph 35 and therefore denies same.
 4
 5           36.    Admit that Plaintiff sent an e-mail to Assistant U.S. Attorney Benjamin
 6
       Barron, copying Assistant U.S. Attorney Daniel Ahn, on June 30, 2020 with the subject
 7
 8     line: “racially insensitive/inappropriate statements by front office.” Admit Plaintiff’s June

 9     30, 2020 e-mail speaks for itself. Defendant denies the remainder of the allegations in
10
       Paragraph 36.
11
12           37.    Denied.

13           38.    Denied.
14
             39.    Denied.
15
16           40.    Admit that Assistant U.S. Attorney Benjamin Barron purchased a home in

17     Irvine, California. Admit that on November 17, 2020 Assistant U.S. Attorney Barron
18
       requested Plaintiff contact a defense attorney concerning one of Plaintiff’s criminal
19
20     matters. Defendant denies the remaining allegations in Paragraph 40.

21           41.    Admit that Plaintiff was issued a Letter of Reprimand on December 3, 2020
22
       for unprofessional conduct.      Defendant denies the remainder of the allegations in
23
24     Paragraph 41.

25           42.    Denied.
26
27
28
                                                    8
     Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 9 of 14 Page ID #:131




 1           43.    Admit that Plaintiff received a Letter of Reprimand on December 3, 2020 for
 2
       unprofessional conduct. Admit that the Letter of Reprimand speaks for itself. Defendant
 3
       denies the remaining allegations in Paragraph 43.
 4
 5           44.    Admit that Assistant U.S. Attorney Barron did not nominate any of the
 6
       Assistant U.S. Attorneys, including Plaintiff, who report to Assistant U.S. Attorney Daniel
 7
 8     Ahn for a time off award in or around March 2020 to the present. Defendant denies the

 9     remainder of the allegations in Paragraph 44.
10
                                      FIRST CAUSE OF ACTION
11
12                             Discrimination in Violation of Title VII

13                                     (Against All Defendants)
14
             45.    Defendant incorporates by reference his responses to the allegations in
15
16     Paragraphs 1 through 44 of the Complaint.

17           46.    Paragraph 46 of the Complaint contains legal conclusions to which no
18
       response is required. To the extent a response is required, Defendant denies the allegations
19
20     in Paragraph 46.

21           47.    Paragraph 47 of the Complaint contains a quotation of statutory language to
22
       which no response is required. To the extent a response is required, Defendant denies the
23
24     allegations in Paragraph 47.

25           48.    Denied.
26
             49.    Denied.
27
28           50.    Denied.
                                                    9
 Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 10 of 14 Page ID #:132




 1         51.   Denied.
 2
           52.   Denied.
 3
           53.   Denied.
 4
 5                                  SECOND CAUSE OF ACTION
 6
                              Retaliation in Violation of Title VII
 7
 8                                    (Against All Defendants)

 9         54.   Defendant incorporates by reference his responses to the allegations in
10
     Paragraphs 1 through 53 of the Complaint.
11
12         55.   Paragraph 55 of the Complaint contains a quotation of statutory language to

13   which no response is required. To the extent a response is required, Defendant denies the
14
     allegations in Paragraph 55.
15
16         56.   Admit that Plaintiff filed formal complaints of discrimination on June 29,

17   2020 and March 22, 2021, respectively. Defendant denies the remaining allegations in
18
     Paragraph 56.
19
20         57.   Denied.

21         58.   Denied.
22
           59.   Denied.
23
24         60.   Denied.

25         61.   Denied.
26
27
28
                                                 10
 Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 11 of 14 Page ID #:133




 1                                     PRAYER FOR RELIEF
 2
           1.      Paragraph 1 constitutes a prayer for relief to which no response is required.
 3
     To the extent a response is required, Defendant denies that Plaintiff is entitled to any relief
 4
 5   sought and further denies that Defendant is liable to Plaintiff under any theory of liability
 6
     whatsoever.
 7
 8         2.      Paragraph 2 constitutes a prayer for relief to which no response is required.

 9   To the extent a response is required, Defendant denies that Plaintiff is entitled to any relief
10
     sought and further denies that Defendant is liable to Plaintiff under any theory of liability
11
12   whatsoever.

13         3.      Paragraph 3 constitutes a prayer for relief to which no response is required.
14
     To the extent a response is required, Defendant denies that Plaintiff is entitled to any relief
15
16   sought and further denies that Defendant is liable to Plaintiff under any theory of liability

17   whatsoever.
18
           4.      Paragraph 4 constitutes a prayer for relief to which no response is required.
19
20   To the extent a response is required, Defendant denies that Plaintiff is entitled to any relief

21   sought and further denies that Defendant is liable to Plaintiff under any theory of liability
22
     whatsoever.
23
24         5.      Paragraph 5 constitutes a prayer for relief to which no response is required.

25   To the extent a response is required, Defendant denies that Plaintiff is entitled to any relief
26
     sought and further denies that Defendant is liable to Plaintiff under any theory of liability
27
28   whatsoever.
                                                   11
 Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 12 of 14 Page ID #:134




 1         6.      Paragraph 6 constitutes a prayer for relief to which no response is required.
 2
     To the extent a response is required, Defendant denies that Plaintiff is entitled to any relief
 3
     sought and further denies that Defendant is liable to Plaintiff under any theory of liability
 4
 5   whatsoever.
 6
           7.      Paragraph 7 constitutes a prayer for relief to which no response is required.
 7
 8   To the extent a response is required, Defendant denies that Plaintiff is entitled to any relief

 9   sought and further denies that Defendant is liable to Plaintiff under any theory of liability
10
     whatsoever.
11
12                                 AFFIRMATIVE DEFENSES

13         Without waiving, limiting, modifying, or amending any of the answers, responses,
14
     assertions, or allegations set forth above, and pleading in the alternative where appropriate,
15
16   Defendant asserts the following affirmative defenses:

17         1.      The Complaint, in whole or in part, fails to state a claim upon which relief
18
     can be granted.
19
20         2.      Plaintiff has failed to exhaust administrative remedies for some or all of his

21   claims.
22
           3.      Plaintiff cannot establish any direct evidence in support of his claims of
23
24   discrimination or retaliation under Title VII.

25         4.      Plaintiff cannot establish a prima facie claim of discrimination or retaliation
26
     under Title VII.
27
28
                                                   12
 Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 13 of 14 Page ID #:135




 1         5.     Defendant had legitimate, non-discriminatory reasons supporting each of the
 2
     decisions at issue in the Complaint.
 3
           6.     Plaintiff cannot establish that Defendant’s legitimate, non-discriminatory
 4
 5   reasons were pretext for unlawful discrimination or retaliation under Title VII.
 6
           7.     Plaintiff’s claims are barred to the extent that he has failed to use reasonable
 7
 8   efforts to mitigate his damages.

 9         8.     Plaintiff’s claim for compensatory damages is limited to the statutory cap set
10
     forth in 42 U.S.C. § 1981a.
11
12         9.     Plaintiff’s claim for punitive damages is barred by 42 U.S.C. § 1981(b)(1).

13         10.    The head of the agency, in his official capacity, is the only proper defendant.
14
           11.    Defendant did not commit the acts or omissions as alleged in the Complaint
15
16   for discriminatory or retaliatory motives, but assuming that he did, such acts or omissions

17   would have been taken in any event for legitimate, non-discriminatory, non-pretextual
18
     reasons.
19
20         12.    No tangible employment action was taken against Plaintiff.

21         13.    Defendant exercised reasonable care to prevent and promptly correct any
22
     harassing behavior.
23
24         14.    Plaintiff unreasonably failed to take advantage of any preventative or

25   corrective opportunities provided by Defendant or to otherwise avoid harm.
26
           WHEREFORE, Defendant respectfully requests that the Court enter judgment
27
28   against Plaintiff and for Defendant with costs, dismiss this case with prejudice, and award
                                                 13
 Case 2:21-cv-05945-JFW-PVC Document 21 Filed 09/24/21 Page 14 of 14 Page ID #:136




 1   Defendant all other and further relief as shall be deemed just and appropriate.
 2
 3
     Dated: September 24, 2021                     Respectfully submitted
 4
 5                                                 Scott Erik Asphaug
                                                   Acting United States Attorney
 6
 7                                                 /s/ Kevin C. Danielson
 8                                                 KEVIN C. DANIELSON
                                                   Assistant U.S. Attorney
 9                                                 United States Attorney’s Office
10                                                 Attorneys for Defendant
                                                   MERRICK GARLAND. Attorney
11                                                 General of U.S. Department of Justice
12
                                                   Acting Under Authority Conferred by 28
13                                                 U.S.C. § 515
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 14
